Case 2:15-cv-01389-ES-JAD Document 1-1 Filed 02/23/15 Page 1 of 2 PagelD: 9

JS 44 (Rev. 12/12)

Provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor pene the filing and service of pleadings or other papers as required by law, except as
epte

nited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS
Symrise Inc.

(b) County of Residence of First Listed Plaintiff

Bergen

(EXCEPT IN U.S. PLAINTIFF CASES)

Tidn y eBay Name, Address, Email and Telephone Number)

350 Mount Kemble Ave., P.O. Box 1917, Morristown, NJ 07962
tduffy@coughlinduffy.com; (973) 631-6002

DEFENDANTS

NOTE:

 

A Touch of Country Magic LLC

County of Residence of First Listed Defendant

mber 1974, is required for the use of the Clerk of Court for the

(IN U.S, PLAINTIFF CASES ONLY)

Attorneys (if Known)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

TI. BASIS OF JURISDICTION (Place an “X" in One Box Only)

 

(For Diversity Cases Only)

WW. CITIZENSHIP OF PRINCIPAL PARTIES (piace an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

21 U.S. Government © 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 © 1 Incorporated or Principal Place W404
of Business In This State
O 2 US. Government 3) 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place Os 5
Defendant (Indicate Citizenship of Parties in ltem Il) of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure © 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal © 400 State Reapportionment
O 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 O 410 Antitrust
© 140 Negotiable Instrument Liability O 367 Health Care/ O 430 Banks and Banking
1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERT O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 460 Deporation
151 Medicare Act 0 330 Federal Employers’ Product Liability T 830 Patent 1 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans O 340 Marine Injury Product © 480 Consumer Credit
(Excludes Veterans) O 345 Marine Product Liability TABOR CIAL SECURITY O 490 Cable/Sat TV
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards O 861 HIA (1395ff) O 850 Secunties/Commodities/
of Veteran’s Benefits ©) 350 Motor Vehicle O 370 Other Fraud Act © 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Management 0 863 DIWC/DIWW (405(g)) | 890 Other Statutory Actions
W190 Other Contract Product Liability © 380 Other Personal Relations O 864 SSID Title XVI © 891 Agricultural Acts
© 195 Contract Product Liability [© 360 Other Personal Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) © 893 Environmental Matters
0 196 Franchise Injury © 385 Property Damage O 751 Family and Medical © 895 Freedom of Information
© 362 Personal Injury - Product Liability Leave Act Act
_ Medical Malpracti © 790 Other Labor Litigation O 896 Arbitration
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 791 Employee Retirement FEDERAL TAX SUITS 0) 899 Administrative Procedure
0 210 Land Condemnation =) 440 Other Civil Rights Habeas Corpus: Income Security Act © 870 Taxes (U.S, Plaintiff AcvReview or Appeal of
O 220 Foreclosure O 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
© 230 Rent Lease & Ejectment 0 442 Employment 0 510 Motions to Vacate O 871 IRS—Third Party O 950 Constitutionality of
© 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 State Statutes
©) 245 Tort Product Liability Accommodations 0 530 General
© 290 All Other Real Property O 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION
Employment Other: © 462 Naturalization Application
O 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
© 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement

 

V. ORIGIN (Place an “X" in Qne Box Only)

M1 Original O02 Removed from O 3  Remanded from 0 4 Reinstatedor © 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened aay District Litigation
speci

 

VI. CAUSE OF ACTION

28 U.S.C. 1332

 

Breach o

Brief dtseripaon Ba =
ontrac

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 159,495.18 JURY DEMAND: SM Yes ONo

VII. RELATED CASE(S) ;
IF ANY (See insinuctions). op DOCKET NUMBER

DATE SIG F ATTQRNEY OF RECORD

02/23/2015 (

‘FOR OFFICE USE ONLY =

RECEIPT # APPL; IFP JUDGE MAG. JUDGE

AMOUNT
Case 2:15-cv-01389-ES-JAD Document 1-1 Filed 02/23/15 Page 2 of 2 PagelD: 10

JS 44 Reverse (Rev. 12/12)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
Tequired by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed, The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

II.

IIT.

IV.

VI.

VII.

VII.

Plaintiffs-Defendants, Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S, plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys, Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction, The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348, Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked,

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section ITI below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an "X" in one of the six boxes,

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
